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                        -cv-00191-RBW       Document 19-6       Filed O2/24/L      -




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                                  )
         HOLIDAY CVS, L.L.C.,                                     )
         dlb/a CVSfPharmacy Nos. 5195/219                         )
                                                                  )
                  Plaintiff,                                      )
                                                                  )
                          V.                                      )          Civ. No. 1:12-cv-191
                                                                  )
                                                                  )
         ERIC HOLDER, JR., et al.,                                )
                                                                  )
                 Defendant.                                       )
                                                                  )


                               DECLARATION OF JOSEPH RANNAZZISI

             I, Joseph Rannazzisi, pursuant to 28 U.S.C. §1746, declare and state as follows:

        1. 1am currently the Deputy Assistant Administrator for DEA's Office of Diversion

             Control. In that capacity Icoordinate the day-to-day operations of the Diversion

             Control Program; brief representatives from the pharmaceutical industry, members of

             Congress, executive staff at the Department of Justice and the Office of National

             Drug Control Policy, as well as the general public on the national epidemic of

             prescription drug abuse and the diversion of controlled substance pharmaceuticals.

        2.   Iam aSpecial Agent of the United States Department of Justice, Drug

             Enforcement Administration (DEA) and have been employed by the DEA since 1986.

             Additionally, Ihave aBachelor of Science Degree in Pharmacy and am alicensed

             pharmacist. Ialso hold aJuris Doctorate from the Detroit College of Law at

             Michigan State University.




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                                                                             I
                                                            EXHIBIT
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          3. Matters contained in this declaration are based upon my personal knowledge,

             training, experience, and upon conclusions and determinations reached by me. I

             participated in the decision-making process that led to the issuance of an Immediate

             Suspension Orders (ISOs) against Holiday CVS, L.L.C., d/b/a CVS/Pharmacy #219

             (CVS 219) and CVS/Pharmacy #5195 (CVS 5195) (collectively, "CVS") on

             February 2, 2012. The contents of the declaration, including history, facts,

             conclusions, and determinations, were before DEA prior to the issuance of the ISOs

             against CVS 219 and CVS 5195.

                                           Regulatory Scheme

         4. The Food and Drug Administration generally regulates pharmaceutical drugs.

            Congress, however, recognized the need for greater scrutiny over controlled

            substances, due to their potential for abuse and danger to public health and safety. As

            such, it established aseparate framework under the Controlled Substances Act (CSA),

            21 U.S.C. §801 et seq., and implementing regulations, that creates aclosed system of

            distribution for all controlled substances and listed chemicals. See H.R. Rep. No. 91-

            1444, 1970 U.S.C.C.A.N. at 4566.

         5. Congress therefore established acomprehensive regulatory scheme in which

            controlled substances are placed in one of five "Schedules" depending on their

            potential for abuse, the extent to which they may lead to psychological or physical

            dependence, and whether they have acurrently accepted medical use in treatment in

            the United States. See 21 U.S.C. §812(b). Controlled substances in "Schedule I"

            have a"high potential for abuse," "no currently accepted medical use in treatment in

            the United States," and a"lack of accepted safety for use under medical supervision."



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            21 U.S.C. §812(b)(1)(A)-(C). Controlled substances in Schedule II do have "a

            currently accepted medical use in treatment in the United States or acurrently

            accepted medical use with severe restrictions, but still have "a high potential for

            abuse." "Abuse of the drug or other substances may lead to severe psychological or

            physical dependence." 21 U.S.C. §812(b)(2)(A)-(C).

        6. The CSA gives the Drug Enforcement Administration broad authority to prevent the

            diversion of pharmaceutical drugs for illicit use. See 21 U.S.C. §§ 824(d), 871(a); 21

            C.F.R. §§ 1316.65(c) and 1316.67; 28 C.F.R. §0.104, Appendix to Subpart R, Sec.

            7(a). "Diversion" is aterm used to describe instances when licit drugs leave the

            closed-system of distribution for illicit purposes.

        7. As part of that authority, the DEA Office of Diversion Control regulates every link in

           the prescription-drug supply chain and is responsible for regulating more than 1.4

           million DEA registrants. Every person who manufactures, distributes, dispenses,

           imports, or exports any controlled substance or who proposes to engage in the

           manufacture, distribution, dispensing, importation or exportation of any controlled

           substance shall obtain aregistration with DEA. 21 C.F.R. §1301.11. It is the

           responsibility of the Office of Diversion Control to ensure that these registrants

           adhere to all aspects of the CSA and implementing regulations and to take action

           against them when they are out of compliance.

        8. The closed system of the CSA is specifically designed with checks and balances

           between registrants to ensure that controlled substances are not diverted from this

           closed system.




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         9. Specifically, with respect to pharmacies, registrants are required to "provide effective

             controls and procedures to guard against theft and diversion of controlled

             substances." 21 C.F.R. §1301.71(a). "The responsibility for the proper prescribing

             and dispensing of controlled substances is upon the prescribing practitioner, but a

            corresponding responsibility rests with the pharmacist who fills the prescription." 21

            C.F.R. §1306.04(a). Pharmacists are required to ensure that prescriptions for

            controlled substances are "issued for alegitimate medical purpose by an individual

            practitioner acting in the usual course of his professional practice." 21 C.F.R. §

            1306.04(a).

         10. When registrants at every level—practitioners, pharmacies and distributors—fail to

            fulfil their obligations, these necessary checks and balances collapse. Because

            pharmacies are the entity providing the controlled substances to the end user, they are

            often the last major line of defense in the movement of legal pharmaceutical

            controlled substances from legitimate channels into the illicit market. It is, therefore,

            incumbent on pharmacies to ensure that controlled substances are only dispensed

            pursuant to valid prescriptions issued for legitimate medical purposes in the usual

            course of professional practice.

         11. When apharmacy is not adhering to its legal obligations, the DEA has authority to

            revoke or suspend its registration. See 21 U.S.C. §823(1) (describing that issuance of

            apractitioner's registration (including pharmacies) must be consistent with the public

            interest, as determined by the following five factors: (1) the recommendation of the

            appropriate State licensing board or professional disciplinary authority; (2) the

            applicant's experience in dispensing, or conducting research with respect to



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            controlled substances; (3) the applicant's conviction record under Federal or State

            laws relating to the manufacture, distribution, or dispensing of controlled substances;

            (4) compliance with applicable State, Federal, or local laws relating to controlled

            substances; and (5) such other conduct which may threaten the public health and

            safety). Ordinarily, DEA must hold ahearing prior to revocation or suspension of an

            entity's registration. But when the DEA has reason to believe that aregistrant's

            continued operation would pose "an imminent danger to the public health or safety,"

            DEA has discretion to suspend that party's registration immediately, prior to an

            administrative hearing. 21 U.S.C. §824(d). DEA must provide the basis for its

            suspension in an Order to Show Cause. 21 C.F.R. §1301.36(e). A Section 824(d)

           suspension remains in effect until the DEA issues afinal order, unless the suspension

           is withdrawn by the Attorney General or dissolved by acourt of competent

           jurisdiction. 21 U.S.C. §824(d). A Section 824(d) suspension only suspends a

           registrant's ability to handle controlled substances and does not affect the registrant's

           ability to handle non-controlled pharmaceutical drugs.

                The Rampant Problem of Controlled Substance Diversion for Illicit Use

        12. Prescription drug abuse occurs in the United States at an alarming rate. The 2010

           National Survey on Drug Use and Health reveals that approximately 7million

           Americans abuse controlled substance pharmaceuticals for non-medical purposes.

           See 2010 National Survey on Drug Use and Health Survey, (20 10 Survey) available

           athttp://www.samhsa.gov/data/NSDUlV2klONSDUIV2klOResults.
                                                                   pdf. Second only

           to marijuana, controlled substance prescription drugs are abused by more people than

           cocaine, heroin, hallucinogens and inhalants combined.




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         13. Of all prescription drugs, narcotic pain relievers such as oxycodone, hydrocodone,

             and oxymorphone are abused most frequently. Each year, roughly 5.1 million people

            abuse narcotic pain relievers in the United States. Oxycodone is aSchedule II

            controlled substance. See 21 C.F.R. §1308.12(b)(1)(xiii).

         14. Over the past several years, DEA has seen two major schemes used to divert powerful

            and addictive controlled substance pharmaceuticals. First, between 2005 and 2009,

            hydrocodone, aSchedule Ill controlled substance, was illegally diverted through

            rogue Internet pharmacy schemes. Florida was the epicenter for many of the illegal

            operations whereby tens of millions of dosage units of hydrocodone were diverted to

            locations across the United States. For reference, adosage unit is most commonly

            applied to atablet. It is the main ingredient, expressed in milligrams or milliliters

            (liquids), in combination with other ingredients, binders and fillers. Congress reacted

            to the plethora of rogue Internet pharmacies with the passage of the Ryan Haight

            Online Pharmacy Consumer Protection Act that took effect in April 2009. This

            action along with intensified law enforcement actions virtually eliminated domestic-

            based rogue Internet pharmacies.

         15. Second, beginning in late 2008 and continuing to the present, there has been a

            significant rise in the number of rogue pain clinics whose complicit doctors initially

            dispensed millions of dosage units of oxycodone, aSchedule II controlled substance

            more potent than the hydrocodone that was previously dispened through the rogue

            Internet operations. Again, Florida was and remains the epicenter for these illegal

            pain clinics.   DEA, State and local law enforcement investigations reveal that

            thousands of drug seekers flock to these Florida-based pain clinics to obtain their




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             supply of oxycodone, and other controlled substances such as aiprazolam, which is in

             turn illegally redistributed in states along the entire east coast and Midwest.

         16. Florida has attempted to address this problem through apatchwork of legislation.

             Some of the more current state legislation has placed arestriction on aphysician's

            ability to dispense oxycodone from the clinic. The illicit pain clinics responded by

            issuing prescriptions for oxycodone rather than dispensing directly to the drug seeker.

         17. According to the Florida Medical Examiner's Office, they have seen a345.9%

            increase in the number of overdose deaths associated with oxycodone between 2005

            and 2010. For 2010, their data showed that approximately 4,091 persons died in

            Florida alone from an overdose caused by just five drugs: methadone, oxycodone,

            hydrocodone, benzodiazepines, or morphine. This is an average of 11.2 persons

            dying in the state of Florida every day from just these five drugs alone.

         18. Furthermore, the abuse of prescription drugs is not isolated to just one drug. Abusers

            and addicts routinely abuse prescription drugs in combination with one another to

            enhance the effects. This activity significantly increases the risk of potential harm to

            the individual. This combination is often referred to as the "trinity" or "holy trinity,"

            hydrocodone or oxycodone used in combination with alprazolam (a benzodiazepine)

            and carisoprodol. According to the Florida Medical Examiner's Office, they have

            seen a127% increase in the number of deaths associated with benzodiazepines in the

            State of Florida between 2005 and 2010.

        19. Florida has tried to rein in prescription-drug abuse by enacting laws that limit Florida

           physicians' ability to dispense controlled substances. Until 2010, FLA. STAT. §

           465.0276 allowed apractitioner to dispense drugs in the usual course of professional




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            practice so long as s/he was registered as such and paid a$100 fee. The practitioner

            was subject to the same record-keeping requirements and periodic inspections as a

           pharmacy. In 2010, the Florida legislature amended FLA. STAT. §465.0276 to

           prohibit aregistered practitioner from dispensing more than a72-hour supply of any

           controlled substance for any patient who paid for the medication with cash, check or

           credit card. The law became effective October 1, 2010. Finally, in 2011, the Florida

           legislature amended the statute asecond time to prohibit apractitioner, except in very

           limited circumstances, from dispensing any controlled substances in Schedules II and

           HI. The law became effective July 1, 2011.

        20. On July 1, 2011, the State Health Officer and Surgeon General, Dr. Frank Farmer

           issued a statewide public health emergency declaration in response to the ongoing

           problem of prescription drug abuse and diversion in Florida, titled "State Surgeon

           General Declares Public Health Emergency Regarding Prescription Drug Abuse

           Epidemic."    The press release noted that "In 2010, 98 of the top 100 doctors

           dispensing Oxycodone nationally were in Florida;" that "In 2010, 126 million

           Oxycodone pills were dispensed through the top 100 dispensing pharmacies in

           Florida;" "More Oxycodone is dispensed in the state of Florida than in the remaining

           states combined." Attachment 1.

        21. The changes in the law have changed the way drug abusers obtain oxycodone. Rather

           than dispensing the drug directly to "patients," pain clinics and complicit doctors now

           write prescriptions for oxycodone.    Drug abusers wanting their prescriptions filled

           must take their script to retail pharmacies like CYS 219 and CVS 5195.




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         22. Following these changes in the law, law enforcement saw immediate and significant

             increases in the volume of oxycodone dispensed from retail pharmacies across the

             state of Florida.

         23. The doctors and clinics that prescribe oxycodone inappropriately, the pharmacies that

            dispense their prescriptions, including CVS 219 and CVS 5195, have caused, and

            continue to cause, millions of dosage units of oxycodone to be diverted for unlawful

            use thereby creating an imminent threat to the public health and safety.

                                          CVS 219 and CVS 5195

         24. CVS 219, located at 3798 Orlando Drive, Sanford, Florida 32773 is registered with

            the DEA as achain pharmacy in Schedules II, 111, IV and V controlled substances

            under DEA Registration Number BC5289055. DEA Registration Number

            BC5289055 expires by its terms on December 31, 2013. Attachment 2.

        25. CVS 5195, located at 4639 W. 1st Street, Sanford, Florida 32771 is registered with the

            DEA as achain pharmacy in Schedules II, III, IV and V controlled substances under

            DEA Registration Number BC6988298. DEA Registration Number BC6988298

            expires by its terms on December 31, 2013. Attachment 3.

                                   Notice to CVS of Diversion Problem

         26. On December 8, 2010, DEA hosted ameeting with CVS at the DEA West Palm

            Beach Resident Office. In attendance at the meeting were representatives from

            DEA, the Florida Department of Health (DOH) and CVS (including counsel for

            CVS/Caremark, Inc. and the district supervisor for CVS 219 and CVS 5195).

            Specifically, the following individuals were present:

                   a.   Group Supervisor Susan Langston, DEA

                   b.   Group Supervisor Gayle Lane, DEA

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                    c.   Diversion Investigator Phyllis Garret, DEA

                    d. Supervisor Michelle Miller, DOH

                    e.   Senior Pharmacist Robert DiFiore, DOH

                    f.   John Gilbert, Counsel for CVS/Caremark

                    g. District Supervisor, Jennifer Lalani, RPh, CVS

                    h. District Supervisor, Papatya Tankut, RPh, CVS

         27. The meeting commenced with abrief statement by John Gilbert, counsel for

            CVS/Caremark, Inc. Mr. Gilbert stated that CVS was aware of the pill mill and/or

            pain clinic situation and the diversion of controlled substances, primarily oxycodone,

            in Florida. Mr. Gilbert further stated that CVS was seeking additional guidance from

            DEA to better understand the diversion issue(s) in Florida.

         28. DEA and DOH advised CVS that the diversion of oxycodone, primarily originating

            from purported pain clinics, involves fraudulent prescriptions, doctor shoppers, and

            unethical doctors. CVS was further advised of the typical "red flags" associated with

            the diversion of controlled substances that apharmacy should be familiar with in

            order to carry out its corresponding responsibility to ensure that the controlled

            substances are dispensed for alegitimate medical purpose. Some of the "red flags"

            discussed included: (a) many customers receiving the same combination of

            prescriptions (i.e., oxycodone and aiprazolam); (b) many customers receiving the

            same strength of controlled substances (i.e., 30 milligrams of oxycodone with 15

            milligrams of oxycodone and 2milligrams of alprazolain); (c) many customers

            paying cash for their prescriptions; (d) many customers with the same diagnosis codes

            written on their prescriptions (i.e., back pain, lower lumbar, neck pain, or knee pain);

            and (e) individuals driving long distances to visit physicians and/or to fill

            prescriptions.


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         29. CVS 219's and CVS 5195's District Supervisor, Jennifer Lalani, acknowledged that

             she was aware of an increase in the number of oxycodone prescriptions that have

            been presented to CVS pharmacies, especially in the Orlando, Florida area. Ms.

            Lalani also made reference to an October 2010 letter sent to pharmacies from

            Hillsborough County Sheriff David Gee. In that letter, Sheriff Gee made aplea to

            area pharmacies to work with law enforcement and closely scrutinize the

            prescriptions they receive in order to deal with the prescription drug epidemic in

            Florida. Attachment 4.

         30, Ms. Lalani stated that CVS pharmacists had been instructed to verify oxycodone

            prescriptions by calling the prescribing practitioner. DEA informed the CVS

            representatives that verifying that the prescription was written by aphysician was not

            the same as making an independent determination that the prescription was written

            for alegitimate medical purpose in the usual course of professional practice.

         31. During the meeting, DEA provided the CVS representatives with aone-page

            summary of the oxycodone purchases made by CVS 219. Attachment 5. This

            information was contained within asummary from DEA's Automation of Reports

            and Consolidated Orders System (ARCOS) records that track the purchases of

            narcotic controlled substances between DEA registrants. The summary showed a

            huge increase in oxycodone purchases by CVS 219 from 2006 through 2010.

            Specifically, the pharmacy ordered approximately 265,000 dosage units of oxycodone

            in 2006. DEA informed the CVS representatives that this amount represented more

            than four times the amount of oxycodone atypical pharmacy orders in one year.

            Additionally, through October 2010, CVS 219 ordered more than 1.8 million dosage




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            units of oxycodone. DEA informed the CVS representatives that this 10 month order

            history represented more than thirty times what atypical pharmacy ordered in one

            year.

         32. Ms. Lalani confirmed that CVS 219 was located in Sanford, Florida and was under

            her supervision. Ms. Lalani agreed that the volume of oxycodone purchased by this

            pharmacy was extremely high; however, Ms. Lalani was unable to explain why the

            volume was so high. Ms. Lalani further stated that she would look into the matter.

         33. On August 12, 2011, DEA hosted asecond meeting with CVS at the DEA Weston

            Resident Office. In attendance at the meeting were DEA representatives and 24

            supervisors/managers from various South Florida CVS pharmacies. Attachment 6.

            Jennifer Lalani was again present at this meeting. Ms. Lalani stated that she wanted

            to attend the meeting even though she did not supervise South Florida CVS

            pharmacies.

         34. The meeting commenced with abrief power point presentation by DEA. Attachment

            7. The presentation included statistical information from DEA, Florida Department

            of Law Enforcement, Center for Disease Control, and the United States Census

            Bureau. This information showed drastic increases in prescription drug overdose

            deaths. It also showed that during 2010, Florida pharmacies purchased far more

            oxycodone than pharmacies in any other state. DEA informed the CVS

            representatives that the average U.S. pharmacy purchased approximately 69,500

            dosage units of oxycodone in 2010, and that the average Florida pharmacy purchased

            approximately 134,000 dosage units of oxycodone in 2010.




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         35. DEA explained to the CVS representatives that, pursuant to 21 C.F.R. §1306.04(a), a

             prescription for controlled substance to be effective must be issued for alegitimate

             medical purpose by an individual practitioner acting in the usual course of

            professional practice, and that the responsibility for the proper prescribing and

            dispensing of controlled substances is upon the prescribing practitioner, but that a

            corresponding responsibility rests with the pharmacist who fills the prescription.

         36. CVS was again advised of the typical "red flags" associated with the diversion of

            controlled substances that apharmacy should be familiar with in order to carry out its

            corresponding responsibility to ensure that the controlled substances are dispensed for

            alegitimate medical purpose. Some of the "red flags" discussed included: (a) many

            customers receiving the same combination of prescriptions; (b) many customers

            receiving the same strength of controlled substances; (c) many customers paying cash

            for their prescriptions; (d) many customers with the same diagnosis codes written on

            their prescriptions; (e) individuals driving long distances to visit physicians and/or to

            fill prescriptions; (f) customers coming into the pharmacy in groups, each with the

            same prescriptions issued by the same physician; and (g) customers with prescriptions

           for controlled substances written by physicians not associated with pain management

           (i.e., pediatricians, gynecologists, ophthalmologists, etc.).

        37. DEA provided the CVS representatives with alist of the top 34 CVS pharmacies in

           Florida for purchasing oxycodone in 2010. Attachment 8. CVS 219 ranked first on

           this list and CVS 5195 ranked second. Ms. Lalani acknowledged that CVS 219 and

           CVS 5195 were under her supervision. Ms. Lalani stated that she knew CVS 219 and

           CVS 5195 were two of the busiest CVS pharmacies in the state, and attributed this to



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            the fact that the pharmacies were open 24 hours aday and were located off of

            Interstate-4.

                             DEA Investigation of CVS 219 and CVS 5195

          38. DEA's investigations of CVS 219 and CVS 5195 stemmed from DEA's

             investigation of the pharmacies' main distributor, which was Cardinal Health, Inc.'s

             Lakeland, Florida branch (Cardinal). DEA's investigation of Cardinal revealed that

             from January 1, 2008 through October 31, 2011, Cardinal sold over 12.8 million

             dosage units to its top four customers. From 2008 to 2009, Cardinal's oxycodone

             sales to its top four retail pharmacy customers increased approximately 803%, and

             from 2009 to 2010, Cardinal's oxycodone sales increased approximately 162%.

             Attachment 9. Between 2009-2011, Cardinal's oxycodone sales to its top four retail

             pharmacies increased 241%. CVS 219 and CVS 5195 were two of Cardinal's top

             four retail pharmacy customers during this time period.

         39. Compared to the average number of dosage units distributed monthly to Cardinal's

            other Florida retail pharmacies, the average monthly distribution at CVS 219 and

            CVS 5195 was staggering. Cardinal's other Florida retail pharmacies received, on

            average, 5,364 dosage units per month from October 1, 2008 through December 31,

            2011. Attachment 10. In contrast, CVS 5195 purchased approximately 58,223

            dosage units per month and CVS 219 purchased 137,994 dosage units per month

            during this same period. Attachment 9.

         40. On October 18, 2011, based on DEA's evaluation ofARCOS data indicating that

            CVS 219 and CVS 5195 were purchasing high volumes of oxycodone from Cardinal,




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             IDEA executed Administrative Inspection Warrants ("AIWs") at CVS 219 and CVS

             5195.


          41. During the execution of the AIWs and thereafter, DEA personnel interviewed

             employees for both CVS 219 and CVS 5195. These interviews revealed the

             following:


                      a.   The Pharmacist in Charge (PlC) at CVS 219, Paras Priyadarshi, stated that
                           the majority of the diagnosis codes listed by the prescribing practitioners
                           on the oxycodone prescriptions were the same, and that customers
                           requested certain brands of oxycodone, referring to them as "Ms" or
                           "blues." PlC Priyadarshi stated that he did not see anything wrong with
                           two individuals living at the same address receiving the same exact
                           prescriptions for oxycodone, alprazolam and muscle relaxants from the
                           same practitioner. PlC Priyadarshi stated that no one from
                           CVS/Caremark, Inc. had said anything to him regarding the large amounts
                           of oxycodone purchased by CVS 219 or the prescriptions for oxycodone
                           being filled by CVS 219.


                     b.    One of the pharmacists (RPh) at CVS 219, Susan Masso, stated that many
                           of the patients receiving oxycodone prescriptions received the same
                           "cocktail" of prescriptions, including: oxycodone 30mg, oxycodone 15mg,
                           alprazolam 2mg and carisoprodol. RPh Masso went on to say that she was
                           not a"police officer and [could] not police the patients." RPh Masso
                           stated that some customers asked for their oxycodone prescriptions to be
                           filled using "blues."

                     c.    The Pharmacist in Charge (PlC) at CVS 5195, Jessica Merrill, stated that
                           she set adaily limit of how many oxycodone 30mg prescriptions the
                           pharmacy would fill each day. The limit was set based upon the amount
                           of oxycodone the pharmacy had on-hand each day. PlC Merrill said that
                           the reason she set this daily limit was to ensure that the pharmacy had
                           enough oxycodone 30mg to fill the prescriptions for "real pain patients."
                           PlC Merrill stated that she noticed that patients brought in the same
                           combination of controlled substance prescriptions, and that many of the
                           oxycodone prescriptions were written for similar quantities. PlC Merrill
                           stated that many patients paid for their oxycodone prescriptions with cash
                           or adiscount card. She also recalled instances where avehicle would pull
                           up to the pharmacy's drive through window with multiple people in the
                           car, and two or more individuals in the vehicle would present prescriptions
                           for the same controlled substances at the same quantities, on prescriptions
                           written by the same practitioner. PIC Merrill admitted that these

             or "blues" are str
                              eet slang terms used to describe Mallinckrodt brand oxycodone tablets.

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                           prescriptions probably were not legitimate and further described the
                           pharmacy's oxycodone customers as "shady."

                      d.   The Store Manager at CVS 5195, Shawn Porter, stated that one of his job
                           duties was to act as the "bouncer" for the store. Mr. Porter elaborated on
                           this point by stating that sometimes he had to escort customers off the
                           premises because the customers became belligerent after the pharmacy
                           refused to fill their prescriptions for controlled substances. Mr. Porter
                           described these particular customers as being "hooked."

                      e.   The Lead Pharmacy Technician (PT) at CVS 5195, Mari Morrell, stated
                           that CVS 5195 had experienced an increase in its sales of oxycodone. PT
                           Morrell also stated that CVS 5195's customers knew about the store's
                           policy to only fill acertain number of oxycodone prescriptions per day,
                           and that the prescriptions for oxycodone were filled on a"first come first
                           served" basis. PT Morrell said that customers would arrive at the
                           pharmacy very early each day in order to ensure their prescriptions for
                           oxycodone could be filled. PT Morrell went on to say that the daily limit
                           for oxycodone 30mg prescriptions was usually reached sometime between
                           10:00 a.m. and 12:00 p.m. each day, but that sometimes the daily limit was
                           reached within thirty minutes of the pharmacy opening. PT Morrell also
                           stated that it was not her job to "police the patients."

                      f.   One of the pharmacists (RPh) at CVS 5195, Mark Mascitelli, stated that
                           CVS 5195 "could fill oxycodone prescriptions all day." He stated that due
                           to the limited number of oxycodone prescriptions the pharmacy would fill
                           each day, customers would start lining up outside the store at around 7:45
                           a.m. RPh Mascitelli sometimes had to ask these customers to disperse and
                           return when the pharmacy opened at 8:00 a.m. RPh Mascitelli said that
                           the daily limit for oxycodone prescriptions was usually reached within one
                           half-hour to acouple of hours of the pharmacy opening each day. RPh
                           Mascitelli went on to say that some customers asked for their oxycodone
                           prescriptions to be filled using "Ms" or "Vs."2

          42. CVS 219 and CVS 5195 continue to employ PlC Priyadarshi and PlC Merrill.

         43. During the execution of the AIW and thereafter, DEA investigators reviewed CVS

              219's and CVS 5195's controlled substances prescription records and found that,

              since at least 2010, both pharmacies filled prescriptions for controlled substances

              based on prescriptions issued by practitioners who have been the subject of action by

              DEA or the State of Florida. DEA and the State of Florida have taken criminal, civil

         2"Vs" is the street slang terms used to describe the Qualitest brand oxycodone tablets.


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             or administrative action against at least twenty physicians, whose customers fill their

            controlled substance prescriptions at CVS 219 and CVS 5195, for activities resulting

            in the diversion of controlled substances, including for inappropriately prescribing

            excessive and inappropriate quantities of controlled substances and issuing

            prescriptions not for alegitimate medical purpose or outside the usual course of

            professional practice. These actions resulted in the loss of authority of these

            practitioners to handle controlled substances. Many of these practitioners

            subsequently voluntarily surrendered their DEA registrations for cause, based on

            their failure to comply with the Controlled Substances Act and DEA regulations.

            The practitioners include the following:

                   a.   Carlos A. Almonte, M.D.: DEA Immediate Suspension Order dated
                        February 18, 2011; voluntarily surrendered registration for cause on
                        February 23, 2011;

                   b.   Stephen Anthony, M.D.: voluntarily surrendered registration for cause on
                        March 24,2011;

                  c.    Mladen Antolic, M.D.: DEA Order to Show Cause dated August 8, 2011;
                        Final Order dated January 25, 2012;

                  d. Anthony Attala, M.D.: voluntarily surrendered registration for cause on
                     March 21, 2011;

                  e.    Lynn B. Averill, M.D.: DEA Immediate Suspension Order dated March 9,
                        2011; registration retired on August 1, 2011;

                  f.    Scott Becker, M.D.: DEA Immediate Suspension Orders dated February
                        18, 2011 and March 4, 2011; voluntarily surrendered registrations for
                        cause on May 13, 2011;

                  g. Bernard Cantor, M.D.: voluntarily surrendered registrations for cause on
                     May 10, 2011;

                  h. John Christensen, M.D.: voluntarily surrendered registration for cause on
                     September 4,2011;




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                  i.   Jack A. Danton, M.D.: DEA Immediate Suspension Order dated
                       November 19, 2010; Final Order dated September 30, 2011;

                 j.    Manuel J. Fernandez, M.D.: DEA Immediate Suspension Order dated
                       December 14, 2010; voluntarily surrendered registration for cause
                       December 15, 2010;

                 k. David Glickrnan, M.D.: Florida Order of Emergency Restriction of
                    License dated August 19, 2010; Final Order dated March 14,2011;

                 1.    Paul D. Glusman, M.D.: voluntarily surrendered registration for cause on
                       February 7, 2011;

                 m. Carlos Gonzalez, M.D.: DEA Immediate Suspension Order dated
                    February 18, 2011; voluntarily surrendered registration for cause on
                    September 30, 2011; Final Order dated October 11, 2011;

                 n.    Riyaz A. Jummani, M.D.: Florida Order of Emergency Restriction of
                       License dated June 2,2011;

                 o.    John T. Legowik, M.D.: DEA Immediate Suspension Order dated
                       November 4, 2011; voluntarily surrendered registration for cause on
                       November 4, 2011;

                 p. Ronald Lynch, M.D.: DEA Order to Show Cause dated April 4,2008;
                    Final Order dated January 1, 2011;

                 q.    Charles Neuringer, M.D.: DEA Immediate Suspension Order dated
                       December 15, 2010; voluntarily surrendered registration for cause on
                       December 17, 2010;

                 r.    Angelo V. Pace, M.D.: DEA Immediate Suspension Order dated February
                       15, 2011; voluntarily surrendered registration for cause on February 23,
                       2011;

                 s.    Ataur Rahman, M.D.: voluntarily surrendered registration for cause on
                       September 28, 2010;

                 t.    Nader H. Shehata, M.D.: DEA Immediate Suspension Order dated March
                       4, 2011; voluntarily surrendered registration for cause on April 27,2011;
                       and

                 u.    Randall L. Wolff, M.D.: DEA Immediate Suspension Order dated
                       December 14, 2010; Final Order dated February 1, 2012.




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            None of these practitioners were located in Sanford, Florida, where CVS 219 and

             CVS 5195 were located. In fact, all but four of the above listed practitioners were

            located in South Florida, which is generally about 200 miles from Sanford, Florida.

            Accordingly, customers filling the prescriptions for controlled substances issued by

            these South Florida practitioners at CVS 219 and CVS 5195 had to travel lengthy

            distances in order to obtain their controlled substances. The investigation of these

            practitioners and the results of those investigations illustrated the fact that CVS did

            not have adequate measures in place—or at least none that were actually practiced

            by the employees at CVS 219 and 5195—to fulfill their corresponding responsibility

            to ensure that these prescriptions were issued for alegitimate medical purpose by a

            practitioner acting in the usual course of professional practice.

         44. flEA's investigations of CVS 219 and CVS 5195 also included areview and

            analysis of ARCOS records showing CVS 219's and CVS 5195's purchases of

            controlled substances. This review and analysis revealed that:

                  a.   From January 1, 2008 through December 31, 2011, CVS 219 purchased
                       over 5.8 million dosage units of oxycodone products from its distributors,
                       primarily from Cardinal. Attachment 11.

                  b.   From January 1, 2008 through December 31, 2011, CVS 5195 purchased
                       over 2.2 million dosage units of oxycodone products from Cardinal.
                       Attachment 12.

                  c.   From January 1, 2010 through December 31, 2011, CVS 219 purchased,
                       on average, approximately 160,000 dosage units of oxycodone per month.
                       During this same time period, CVS 5195 purchased, on average,
                       approximately 87,000 dosage units of oxycodone per month. Attachments
                       13 and 14.

                  d.   From 2008 to 2009, CVS 219 increased the amount of oxycodone it
                       purchased by approximately 75%, from 719,400 dosage units of
                       oxycodone in 2008 to 1.25 million dosage units of oxycodone in 2009.
                       Attachments 11 and 15. During this same time period, CVS 5195


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                          increased the amount of oxycodone it purchased by 56%, from 66,900
                          dosage units of oxycodone in 2008 to 104,500 dosage units of oxycodone
                          in 2009. Attachments 12 and 15.

                     e.   In 2010, CVS 219 purchased over 2million dosage units of oxycodone, an
                          approximately 63% increase over 2009. Attachments 11 and 15. In 2010,
                          CVS 5195 purchased 885,900 dosage units of oxycodone, a748% increase
                          over 2009. Attachments 12 and 15. In comparison, the average Florida
                          pharmacy purchased approximately 135,000 dosage units of oxycodone
                          during the entirety of 2010. Attachment 16.

                    f In 2011, CVS 219 purchased over 1.8 million dosage units of oxycodone
                      and CVS 5195 purchased over 1.2 million dosage units of oxycodone.
                      Attachments 11 and 12. In comparison, the average Florida pharmacy
                      purchased approximately 111,000 dosage units of oxycodone during the
                      entirety of 2011. Attachment 25.

                    g. Between October 2011 and December 2011, CVS 219's purchases of
                       oxycodone decreased by 77% (from 159,000 dosage units to 37,300
                       dosage units). During this same time period, CVS 5195's purchases of
                       oxycodone decreased by 84% (from 63,000 dosage units to 9,900 dosage
                       units). Attachment 14. Despite the reduction, however, CVS 219's and
                          CVS 5195's monthly purchases of oxycodone remained higher than that of
                          the average Florida pharmacy, which was 7,831 dosage units between
                          October 2011 and December 2011. Attachment 14.

        45. On October 19, 2011, DEA requested from CVS 219 and CVS 5195 the controlled

            substance dispensing profiles for twenty-two practitioners. Attachment 17.

            Approximately one month later, CVS/Caremark, Inc. informed DEA that it was

            suspending the dispensing of any Schedule H narcotic prescriptions issued by these

            same twenty-two practitioners for aperiod of sixty days. 4 Attachment 18. 5

        46. On October 20, 2011, CVS/Caremark, Inc. provided DEA with acopy of its policies

            regarding filling prescriptions for controlled substances. Attachment 19. These




         Attachment 18 reflects that this request was made for twenty-four practitioners; however, two of the
       practitioners on the list of names provided to CVS 219 and CVS 5195 were duplicates. These names have
       been redacted to protect the personally identifying information of the practitioners.
         The twenty-two practitioners for whom DEA was requesting the controlled substance dispensing profiles
       were not the same practitioners listed in paragraph 43, supra.
         The names of the individual practitioners have been redacted.

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              "Dispensing Guidelines for Pain Management" provided alist of warning signs to

              assist CVS employees in identifying "inappropriate prescription-seeking behavior."

          47. On December 23, 2011, CVS/Caremark, Inc. provided DEA with another copy of its

             policies regarding filling prescriptions for controlled substances, as well as excerpts

             from various trainings, guides, and memoranda regarding filling prescriptions for

             controlled substances. Attachment 20.

          48. On January 27, 2012, CVS/Caremark, Inc. provided DEA with acopy of its revised

             dispensing guidelines for prescriptions for controlled substances. Attachment 21.

          49. A comparison of CVS/Caremark, Inc.'s revised dispensing guidelines with their

             previous guidelines and trainings revealed that the revised guidelines were largely

             the same as CVS/Caremark, Inc.'s previous policies. Further, given that employees

             at CVS 219 and CVS 5195 failed to follow CVS/Caremark, Inc.'s previous policies,

             the implementation of the revised dispensing guidelines was granted little weight.

                            Results of CVS 219 and CVS 5195 Investigations

         Staggeringly High-Volume Purchases:

         50. CVS 219 and CVS 5195 are located in Sanford, Florida. During 2011, CVS 219

             purchased over 1.8 million dosage units of oxycodone and CVS 5195 purchased

             over 1.2 million dosage units of oxycodone. According to the 2010 U.S. Census

            Bureau Facts Sheet, Sanford, Florida has apopulation of 53,570. Attachment 22.

            Based on these numbers, CVS 219's and CVS 5195's dispensing of oxycodone

            could supply every resident of Sanford, Florida with approximately 56 dosage units

            of oxycodone.




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         51. In 2011, CVS 219 purchased 1,802,100 dosage units of oxycodone and CVS 5195

            purchased 1,210,400 dosage units of oxycodone.      This volume dwarfs the oxycodone

            volume purchased by other chain pharmacies in the Sanford, Florida area. In close

            proximity to CVS 219 stand two pharmacies— Walgreens #6970, located at 3803 S.

            Orlando Drive, Sanford, Florida, and Wal-Mart Pharmacy #10-0857, located at 3653

            Orlando drive, Sanford, Florida. Walgreens #6970 purchased 176,500 dosage units

            of oxycodone in 2011. Wal-Mart Pharmacy #10-0857 purchased 30,500 dosage units

            of oxycodone in 2011. Walgreens and Wal-Mart are each located within one (I) mile

            of CVS 219. Attachment 23. Additionally, in close proximity to CVS 5195 stands a

            Publix Pharmacy #0641, located at 5240 West State Road 46, Sanford, Florida 32771.

            The Publix Pharmacy, as compared to CVS 5195, only purchased 25,700 units of

            oxycodone in 2011. The two pharmacies are located within two (2) miles of one

            another. Attachment 24.

          52. Although CVS 219's and CVS 5195's purchases of oxycodone decreased between

             October 2011 and December 2011, see Attachments 13 and 14, their monthly

             purchases of oxycodone remained higher than that of the average Florida pharmacy.

             Attachment 14.

         Failure to Fulfill Their Corresponding Responsibility:

         53. From at least 2008 to 2011, CVS 219 and CVS 5195 dispensed controlled substances

            based upon illegal prescriptions issued by practitioners working at pill mills. DEA

            and the State of Florida have taken criminal, civil or administrative action against at

            least twenty practitioners, listed above, whose customers fill their controlled

            substance prescriptions at CVS 219 and CVS 5195.




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           54. Employees at both CVS 219 and CVS 5195 filled prescriptions for controlled

               substances even when they knew or should have known that alarge number of the

              prescriptions were not issued for alegitimate medical purpose or were issued outside

              the usual course of professional practice. These employees ignored many typical red

              flags of controlled substance diversion, such as: (a) many customers receiving the

              same combination of prescriptions; (b) many customers receiving the same strength

              of controlled substances; (c) many customers paying cash for their prescriptions; (d)

              many customers with the same diagnosis codes written on their prescriptions; and (e)

              customers coming into the pharmacy in groups, each with the same prescriptions

              issued by the same physician. The employees who consistently ignored the red flags

              of controlled substance diversion are still working at CVS 219 and CVS 5195,

              despite the fact that these individuals continued to fill prescriptions for controlled

             substances when they knew, or should have known, that alarge number of these

             prescriptions were not issued for alegitimate medical purpose or were issued outside

             the usual course of professional practice.

          55. CVS 's November 2011 decision that it would no longer fill Schedule II narcotic

             prescriptions for twenty-two Florida practitioners, see supra 145, was not a

             proactive measure taken by CVS/Caremark, Inc. after making an independent

             determination that the twenty-two practitioners at issue may be issuing invalid

             prescriptions. Rather, it was simply areaction to heightened scrutiny by DEA, and

             one made only after DEA requested dispensing information on these very same

            practitioners.




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          Failure to Follow CVS/Caremark, Inc. Policies:

          56. The implementation of CVS/Caremark, Inc.'s revised controlled substance

             dispensing guidelines in January 2012 did not ensure that CVS 219 and CVS 5195

             would not continue to dispense controlled substances based on prescriptions that

             were not issued for alegitimate medical purpose by apractitioner acting in the usual

             course of professional practice. As an initial matter, many of the guidelines listed in

             the revised guidelines of January 2012 were simply areiteration of the guidelines

             listed in CVS/Caremark, Inc.'s previous policies and trainings. Moreover, the AIW

             interviews conducted with employees at CVS 219 and CVS 5195 showed that the

             pharmacies were dispensing controlled substances even with the existence of the

             "warning signs" listed in the company's previous controlled substance dispensing

             guidelines and trainings. Because CVS 219 and CVS 5195 failed to follow CVS

             Caremark, Inc.'s previous controlled substance dispensing guidelines in any

             meaningful way, DEA had no reason to believe that the implementation of revised

             controlled substance dispensing guidelines would do anything to change the

             practices employed at CVS 219 and CVS 5195.

               DEA Issues Immediate Suspension Orders for CVS 219 and CVS 5195

         57. Through my training and experience as both alaw enforcement officer and as a

            licensed pharmacist, Ibelieve that the CVS 219's and CVS 5195's DEA registration

            to handle and distribute any type of controlled substance poses an imminent danger to

            the public health and safety. Iparticipated in the decision-making process leading up

            to the issuance of the ISOs. The information in all the foregoing paragraphs informed




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             my decision to recommend to the Administrator that IS Os were the appropriate

             course of action against CVS 219 and CVS 5195.

          58. DEA has scheduled an administrative hearing in the CVS 219 matter for April 3,

             2012 and in the CVS 5195 matter for April 10, 2012. Absent any request for delay by

             CVS 219 or CVS 5195 and assuming that the Court does not enjoin the ISOs, DEA

             expects to conclude agency proceedings by August.

         Ideclare under penalty of perjury that the foregoing is true and correct.



         Executed on:              /1




                                                                  PH T. RAN1AZZISI




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